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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION
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                           *
 UNITED STATES OF AMERICA, *        CR. 07-40055-26
                           *
           Plaintiff,      *
                           *
      vs.                  * ORDER DENYING MOTION TO SEVER
                           *          (DOC. 14~6)
 TYLER BROWN,              *
                           *
           Defendant.      *
                           *
 ***************************************************
         Defendant has moved the Court for a severance from his co-defendants. Defendant is
 charged in the Third Superseding Indictment along with numerous other defendants with conspiracy
 to distribute and possess with intent to distribute 50 grams or more of a mixture and substance
 containing cocaine base in violation of 21 U.S.C. §§ 84l(a)(l) and 846. Defendant moves for
 severance from his co-defendants pursuant to Fed. R. Crim. P. 14. That rule states:
         Rule 14. Relief from Prejudicial Joinder
         (a) Relief. If the joinder ofoffenses or defendants in an indictment, an information,
         or consolidation for trial appears to prejudice a defendant or the government, the
         court may order separate trials of counts, sever the defendants' trials, or provide any
         other relief that justice requires.


         (b) Defendant's Statements. Before ruling on a defendant's motion to sever, the
         court may order an attorney for the government to deliver to the court for in camera
         inspection any defendant's statement that the government intends to use as evidence.


         In the body of his Motion, Defendant asserts a joint trial with such a large number of
 defendants and the government's lack of factual basis concerning him will prejudice his chances for
 a fair and impartial trial.


         The grant or denial of a motion to sever is left to the sound discretion of the trial court and
 will not be reversed absent a showing of abuse of discretion that resulted in clear prejudice._ United
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 States v. Lawson, 173 F.3d 666,671 (8 th Cir. 1999). Fed. R. Crim. P. 8(b) provides that two or more
 defendants may be charged in the same indictment "if they are alleged to have participated in the
 same act or transaction or the same series ofacts or transactions constituting an offense or offenses."
 "In ruling on a motion for severance, a court must weigh the inconvenience and expense of separate
 trials against the prejudice resulting from a joint trial of co-defendants. To grant a motion for
 severance, the necessary prejudice must be severe or compelling. This is because ajoint trial gives
 the jury the best perspective on all ofthe evidence and therefore, increases the likelihood ofa correct
 outcome." United States v. Pherigo, 327 F.3d 690, 693 (8 th Cir. 2003). "Persons charged with a
 conspiracy will generally be tried together, especially where proof ofthe charges against each ofthe
 defendants is based on the same evidence and acts. Rarely, if ever, will it be improper for co­
 conspirators to be tried together." United States v. Kime, 99 F.3d 879,880 (8 th Cir. 1996).


        Although Defendant and his co-defendants may have antagonistic defenses the United States
 Supreme Court has addressed this argument in_Zajiro v. United States, 113 S.Ct. 933, 506 U.S. 534,
 122 L. Ed.2d 317 (1993). The Court recognized many ofthe Courts ofAppeals have expressed the
 view that "mutually antagonistic" or "irreconcilable" defenses may be so prejudicial in some
 instances so as to mandate severance. Id., 506 U.S. at 538, 113 S.Ct. at 937. See e.g. United States
 v. Shivers, 66 F.3d 938,940 (8 th Cir. 1995) (recognizing the existence of antagonistic defenses does
 not require severance unless defenses are actually irreconcilable).1 The Court recognized, however,
 that in most instances, the degree ofprejudice to require separate trials cannot be shown. Id. The
 Court declined to adopt a bright-line rule requiring severance when co-defendants present
 antagonistic defenses, or even if prejudice is shown. Rather, the District Court is allowed wide
 discretion to tailor reliefto the specific situation presented by each case. Id. 506 U.S. at 538, 113
 S.Ct. at 538-59. The Court cautioned that co-defendants properly joined under Rule 8(b) should be
 severed only if a joint trial would (1) compromise a specific trial right of one ofthe defendants; (2)
 prevent the jury from making a reliable judgment about the guilt or innocence of one of the


         IThe co-defendants in Shivers were accused of distributing cocaine. They each pointed
 the finger at the other. One claimed he did not know the package handed to him by the other was
 cocaine. The other claimed he did not know there was cocaine in the car, nor did he give his co­
 defendant any cocaine. The Shivers court held that a joint trial was appropriate, because "one
 defendant's attempt to save himself at the expense of another co-defendant is not a sufficient
 ground to require severance." Shivers, 66 F.3d at 940.

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 defendants. Id. The examples given by the Supreme Court were a complex, multi-defendant case
 in which evidence which would not be admissible in a separate trial is admitted in a joint trial,
 against a co-defendant, or when many defendants who had markedly different degrees ofculpability
 were tried together in a complex case. Id. The Supreme Court rejected, however, the defendant's
 notion that "the very nature oftheir defenses, without more, prejudiced them." Id., 505 U.S. at 539­
 40, 113 S.C. at 938.      The Court held that usually, "less drastic measures, such as limiting
 instructions, often will suffice to cure any risk of prejudice."


        In Zafiro the Court summarized the co-defendants' theories as "both claiming they were
 innocent and accusing the other of the crime."     They asserted entitlement to a severance because
 of the prejudice caused by their mutually antagonistic defenses. The Supreme Court noted the
 Government had offered evidence that each defendant was guilty. "Even if there were some risk
 ofprejudice, here it is of the type that can be cured with proper instructions and juries are presumed
 to follow their instructions." Id" 506 U.S. at 540, 113 S.c. at 939. In this case, as in Zafiro, even
 if the defendants each claim the other is solely responsible for the alleged drug distribution, the
 District Court may avoid prejudice by, for example, instructing the jury: (1) that the Government
 has the burden of proving beyond a reasonable doubt that each defendant committed the crimes
 charged against him; (2) the jury must give separate consideration to each individual defendant and
 to each separate charge against him; (3) and that each defendant is entitled to have his case
 determined from his own conduct and from the evidence that may be applicable to him. Zafiro, 506
 U.S. at 541, 113 S.C. at 939.


        In United States v. Kime, 99 F.3d 879, 880 (8 th Cir. 1996), the defendant argued he was
 "unfairly tarred" by the spillover effect from the "vast majority" of evidence which was admissible
 only against his co-defendant. The Eighth Circuit held that severance was not warranted. "To justify
 severance, the defendant must show more than the mere fact that his or her chances for acquittal
 would have been better had he been tried separately ... Mere disparity of evidence against co­
 defendants or the alleged prejudicial spillover effect of evidence against a co-defendant are not
 grounds for severance absent a showing the jury will be unable to compartmentalize the evidence
 against each individual defendant." Id. at 880. Factors bearing on whether the jury will be able to
 compartmentalize the evidence are the length and expected complexity of the trial. Id. In this case,


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 the alleged conspiracy was relatively short (from late 2005 to October 2007), and the Third
 Superseding Indictment contains one count against each defendant - conspiracy to distribute 50
 grams or more of a mixture and substance containing cocaine base. "Any risk ofprejudice [may be]
 reduced by the district court's instructions, which [should direct] the jury to consider each offense
 and its supporting evidence separately, and to analyze the evidence with respect to each individual
 without considering evidence admitted solely against other defendants." United States v. Mathison,
 157 F.3d 541, 546 (8 th Cir. 1998) (citations omitted). See also. United States v. Moore, 149 F.3d
 773, 778 (8 th Cir. 1998)(risk that jurors would not be able to compartmentalize evidence against
 various defendants was minimized by court's ongoing limiting instructions); United States v. Flores,
 362 F.3d 1030 (8 th Cir. 2004) (no requirement in a joint trial that the quantum evidence of each
 defendant's culpability be equal; district court properly instructed jury and no evidence jury was
 unable to compartmentalize evidence against each defendant). Defendant has not shown that the
 alleged disparity ofevidence between him and the other defendants will prevent him from receiving
 a fair trial in this matter. Further, Defendant is free to request appropriate limiting instructions from
 Judge Piersol.


         Also, "other crimes" and bad acts evidence may be properly admitted and accompanied by
 instructions to the jury that the evidence should be considered only against the defendant to whom
 it pertains. "[T]hat evidence is admissible as to one defendant but not as to his co-defendants does
 not alone require severance. And, evidence of prior criminal offenses of one defendant does not
 prejudice his co-defendants to the level of requiring severance. Nor is a defendant entitled to
 severance merely because the evidence against a co-defendant is more damaging than against him."
 United States v. Robinson, 774 F.2d 261, 267 (8 th Cir. 1985).


        Finally, Defendant Brown cites the potential for Bruton problems should his case be tried
 together with his co-defendants. In Bruton v. United States, 391 U.S. 123,88 S.Ct. 1620,20 L.Ed.2d
 476 (1968), the United States Supreme Court held that the confrontation clause is violated if a non­
 testifying co-defendant's confession, naming a defendant, is admitted into evidence with only a
 limiting instruction to the jury that it could only be considered as evidence against the non-testifying
 co-defendant. Subsequent case law, however, has allowed admission of a non-testifying co­
 defendant's confession which has been redacted to eliminate any reference to the defendant's


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 existence (Richardson v. Marsh, 481 U.S. 200, 208-09, 107 S.Ct. 1702, 95 L.Ed.2d 176 (1987), and
 to a confession which has removed specific references to the defendant (United States v. Karam,
 37 F.3d 1280 (8 th Cir. 1994); United States v. Edwards, 159 F.3d 1117 (8 th Cir. 1998). Defendant
 Brown has offered nothing but pure speculation2 that any of his co-defendants have given
 confessions which inculpate him. 3 Even if they have, the above-cited case law demonstrates many
 ways the Courts have devised, in the years since Bruton, to avoid the problem which occurred in that
 case.
         Accordingly, IT IS ORDERED that Defendant Brown's Motion for Severance (Doc. 1466 )
 is DENIED without prejudice. Whether and in what manner the confessions (if any) of Defendant
 Brown's non-testifying co-defendants will be admitted into evidence is left to the discretion ofthe
 District Court.


         Dated this   -23-   day   o~
                                              BY THE COURT:




 ATTEST:
 JOSEPH HAAS, CLERK

 bY:~~Deputy
 (SEAL)



         2In his brief, Defendant Brown states "Lewis has given statements to the police that
 would be admissible against Tyler Brown at trial, but, because Lewis is a codefendant, he would
 not be subject to cross examination on those matters." Defendant Brown did not specifically
 provide or identify any of this information (other than the recitation of the statement about
 smoking crack cocaine) for the Court's consideration, however, in support of his motion.
 Defendant Brown made a similar general reference to statements made by his Uncle, Frank
 Baker.

         3Brown indicates that codefendant Lewis gave a statement on July 11, 2007 to Agent
 Hummel in which Lewis said that he, Brown and Milo Young intended to smoke the crack
 cocaine that Lewis possessed. That statement does not appear to pertain directly to the charges in
 this case because Lewis confesses to his possession for personal use by himself and others,
 rather than distribution, and can easily be omitted or the names replaced with neutral pronouns.

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